                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

In re: Edward A. Davis                     )         Case No. 17-17251
       Christine M. Davis                  )         Chapter 13 Proceedings
                                           )
       Debtors.                            )         Judge Jessica E. Price Smith

                  CHAPTER 13 TRUSTEE’S OBJECTION TO DEBTORS’
                        FIRST MOTION TO MODIFY PLAN

       Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing
Chapter 13 Trustee (“Trustee”) herein, by and through counsel, and hereby objects to the
Debtors’ First Motion to Modify Plan filed with the Court on February 27, 2018 (hereinafter
“Debtors’ Motion”).       In support of her objection, the Trustee makes the following
representations to the Court:

       1.    The Trustee’s Objection to Confirmation filed with the Court on January 25, 2018
has not been resolved. Specifically, the following paragraph is not resolved: 1) Disposable
Income.

       2.     The Trustee does not believe the Debtor’s Motion complies with Baud v. Carroll,
634 F.3d 327, (C.A. 6 (Mich.) 2011) as the Debtor’s plan will complete less than the applicable
commitment period.

       3.     In addition, the Trustee wants to see a copy of the pay advice that included the
bonus income the Debtors recently received.

      WHEREFORE your Trustee, being a proper party in interest, hereby moves this
Honorable Court to deny the Debtors’ Motion for the reasons cited.

                                               Respectfully submitted,


                                                /S/ Holly Davala
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                                CERTIFICATE OF SERVICE

I certify that on March 1, 2018, a true and correct copy of Trustee’s Objection was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

         William J. Balena, Attorney, on behalf of Debtors, at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, on:

         Edward A. Davis, Debtor and Christine M. Davis, Debtor at 895 Jamestown Avenue,
               Elyria, OH 44035



                                              /S/ Holly Davala
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HD/alh
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